                            UNITED STATES BANKRUPTCY COURT
                             EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION


In Re:                                                Case no. 11-54164

Patrick George,                                       Chapter 7 Proceeding

            Debtor.                                   Hon. Walter Shapero
________________________________/

Selwan Kesto,

                Plaintiff                             Adversary No. 11-06602
v.

Patrick George,

            Defendant
________________________________/


                                        TRIAL OPINION

         This is an adversary proceeding seeking to declare specified debt(s) allegedly owed to

Plaintiff non-dischargeable under 11 U.S.C. §§ 523(a)(2)(A) and 523(a)(4). Plaintiff is Selwan

Kesto and Defendant is Patrick George, the debtor in the Chapter 7 bankruptcy underlying this

proceeding. Plaintiff has the burden of proving both (1) the existence of a debt or debts; and (2)

to the extent any debt(s) exist, whether any of them are non-dischargeable under the

aforementioned Code provisions. One need not answer the second question to the extent that

Plaintiff does not prove the existence of a debt or debts.

         This matter as it has evolved and as the Court perceives it is essentially an attempt to

utilize a Section 523 non-dischargeability adversary proceeding as a vehicle for obtaining an

accounting of the debts and credits between the parties hereto and their various entities as a result

of the end of their professional relationship. A proper accounting and winding up is much more




 11-06602-mlo       Doc 107     Filed 09/23/16     Entered 09/26/16 08:31:32         Page 1 of 13
thorough and complicated and involves numerous debits, credits, and possible valuations, from

the beginning to the end of the business relationship(s) involved. In this case, only a portion of

those issues has been fleshed out, and then only in a somewhat imperfect and unconvincing

manner. This case emanates from the souring of the business relationship between Plaintiff and

Defendant—a relationship that did not appear to adhere to any standard or uniform business

practices. Indeed, the arbitrator in a prior and related state court case noted such by describing

the “almost comical lack of sound business practice.” They kept poor records, when they

bothered to keep any at all, and the structure and conduct of their business relationship was so

convoluted as to make them difficult to decipher. That said, the Court must and will deal with

the various claims actually made in the context and framework required in this non-

dischargeability proceeding.

                                     (A)     JURISDICTION

          The Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1334 and 28 U.S.C. §

157. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2)(I) (determinations as to the

dischargeability of particular debts).

                                   (B)     FINDINGS OF FACT

    (1)   Underlying General Facts

          Plaintiff and Defendant were members of the George and Kesto Companies, LLC (the

“Company”), which began operating in 2003. The record does not contain any of its governing

documents. Initially, the Company consisted of three members: Plaintiff, Defendant, and

Defendant’s brother David George, each owning a one-third share.           At all relevant times,

Defendant was a managing member of the Company, although the Court cannot determine if he

was the sole managing member. David George left the company in 2007. Thereafter, Plaintiff




                                                  2
    11-06602-mlo     Doc 107     Filed 09/23/16       Entered 09/26/16 08:31:32    Page 2 of 13
and Defendant apparently each maintained a one-half interest in the Company. This is inferred

as the record contains no documentation addressing the details of David George’s departure

and/or any consequent change in the Company’s governing or corporate structure.

         The Company primarily engaged in real estate transactions, obtaining properties either to

sell or to own and manage as rentals. The Company itself did not normally either hold legal title

to these properties or itself obtain the mortgages on these properties. Instead Plaintiff and

Defendant either individually or through designated third parties acting at their direction actually

purchased and took title to and mortgaged what were considered the Company’s properties.

Sometimes, and somewhat rarely, the parties would also add the Company’s name or another

individual’s name to the title. However, as per Plaintiff’s own credible testimony, the parties

treated property held in the name of themselves or others acting at their direction as property of

the Company. Similarly, the debts incurred in connection with the ownership of all real estate

relevant to this proceeding, and thus involving Company property, were incurred by and in the

name of the parties or some other individual, not necessarily the Company itself. Apparently the

decision as to which person would purchase, take title to, or incur the mortgages or other debts,

depended largely on the credit-worthiness of whomever could obtain the most favorable terms.

         When a title-holding individual sold what was considered Company property, the

proceeds (plus rental receipts) usually were funneled back into the Company itself. Those

monies were used for operating and property-maintenance expenses connected with Company

property.    The parties testified to their verbal agreement to share equally in the Company’s

profits. As noted, the record does not contain any paperwork reflecting this arrangement or any

other documentation as to any details of the parties’ financial arrangement. The record also is




                                                 3
    11-06602-mlo    Doc 107     Filed 09/23/16       Entered 09/26/16 08:31:32      Page 3 of 13
devoid of details regarding the parties’ regular business practices for paying corporate expenses

or debts.

         In sum, the parties’ recordkeeping was poor if not shoddy, at best. It appears they simply

put realized funds back or into the Company as needed to pay for operations and, whenever they

desired to do so, they kept or took funds to pay themselves. It does appear that in practice the

Defendant/Debtor took a greater hand in the Company’s financial matters than did Plaintiff.

However, Plaintiff was an authorized signer on Company accounts and had the authority to

conduct business on the Company’s behalf, with or without Defendant’s involvement. Based on

the foregoing and lacking credible evidence to the contrary, the Court concludes that the parties

had no formal process for managing the Company’s finances and that either party could

authorize payment of bills, incur debts, make or take distributions, and take other relevant

financial actions on the Company’s behalf.

         In his capacity as a managing member of the Company, Defendant caused the preparation

and filing of the Company’s tax documents and returns at all times relevant to this proceeding.

This included preparing a K-1 for the 2007 tax year which stated he was the Company’s 100%

owner. Defendant did not inform Plaintiff that he was claiming 100% ownership on the K-1 or

show Plaintiff that document. Plaintiff only learned of that assertion on the K-1 long after

Defendant had prepared and filed the document. Plaintiff has some concern about that matter

lest is operate against him in this proceeding. However, the Court does not consider Plaintiff as

being prejudiced by such in this action. A K-1 simply reflects compensation paid in order to

track its tax consequences. It does not itself establish proof of corporate ownership interests.

There is no evidence indicating that the Company’s corporate structure was actually, legally, or

otherwise factually changed to reflect Defendant as the 100% owner. Thus, at all relevant times




                                                 4
    11-06602-mlo    Doc 107     Filed 09/23/16       Entered 09/26/16 08:31:32     Page 4 of 13
and for this Court’s purposes, Plaintiff remained a legal member of the Company retaining

whatever ownership percentage he had before Defendant drafted the K-1 (presumably a 50%

ownership interest). There follow a number of transactions essentially comprising Plaintiff’s

claim(s) of debts, which he claims are non-dischargeable.

(2)      Facts Related to the Conant Property

         As is noted, the Company’s primary business was real estate purchase, sale, and

management in the manner indicated. In one such instance, in October 2006, Plaintiff and his

wife deeded to Defendant two parcels of property located on Conant Street in Hamtramck,

Michigan (“Conant Property”) and titled in their names. Defendant then deeded the Conant

Property to his wife who personally obtained a mortgage on it. The parties used the mortgage

proceeds for expenses of the Company’s operation, Defendant’s wife of course being personally

liable on the mortgage. The evidence also reflects that at relevant times the Conant Property had

a tenant who initially paid rent directly to the Company. However, toward the end of the parties’

business relationship Defendant directed that these rents be paid to another entity in which he

had an interest.

         Unfortunately, the Court cannot determine when the rental tenancy began or for how long

it lasted. While there is no documentation reflecting the actual amount of rent owing or paid, the

parties’ testimony suggests the amount was somewhere between $2,5000.00—$2,800.00 per

month. Plaintiff conceded he did not know the expenses associated with the Conant Property (i.e.

mortgage, tax, maintenance, or insurance costs). Defendant testified the rent received on the

Conant Property barely balanced the expenses associated with it—i.e. it essentially was a wash.

Having before it no credible evidence to the contrary, the Court concludes that (a) at best the

Conant Property yielded a negligible profit; and (b) this property was transferred as part of the




                                                 5
    11-06602-mlo    Doc 107     Filed 09/23/16       Entered 09/26/16 08:31:32    Page 5 of 13
parties’ normal business activities and did not itself either create or evidence any specific

calculable debt Defendant owed to Plaintiff, let alone one that is not dischargeable.1

(3)      Facts Related to the 2008 Properties

         In the fall of 2008, Plaintiff transferred a number of properties to Defendant’s wife (the

“2008 Properties”). It is unclear what specific properties were included in these transfers as

Plaintiff did not present credible evidence necessary to make that determination. Regardless,

Defendant concedes that Plaintiff did transfer some other properties to Defendant’s wife in 2008.

As occurred in the case of the Conant Property, Defendant’s wife then obtained mortgages on

those properties. One mortgage was a single first mortgage in the amount of $213,000.00,

encumbering four properties. The second was also a single first mortgage in the amount of

$204,750.00 encumbering five other properties.             Altogether the two mortgages together

encumbered nine properties thus creating a total initial mortgage debt of $417,750.00.

         Plaintiff alleges that these mortgages were obtained for the purpose of paying him back a

debt of $271,000.00 Defendant personally owed him. Plaintiff presented no documentary or

other credible evidence reflecting (a) the existence of that alleged debt; (b) when that debt was

incurred; (c) the circumstances surrounding its creation or its purpose; or (d) confirming his

claim that any or which of the mortgage proceeds on the 2008 Properties were earmarked to

repay that debt. Finally, Plaintiff conceded while testifying that there was no agreement as to

exactly how some, any, or all of the mortgage proceeds were to be used. Apparently, some of

those mortgage proceeds were in fact held back and eventually used by Defendant or his wife to
                                                            
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   Due to tax delinquency the Defendant’s wife eventually lost the Conant Property to the Wayne County
Treasurer. After his business relationship with Plaintiff ended, Defendant redeemed the Conant Property.
Plaintiff presented no evidence of any agreement or understanding between himself and Defendant
governing Defendant’s use of the property or his management of its value or proceeds post-redemption.
He also presented no evidence of Defendant owing him an obligation regarding that property following
the end of their business relationship or after the property’s redemption. Accordingly, Defendant’s post-
redemption use and management of the Conant Property is not relevant to this proceeding.


                                                   6
    11-06602-mlo    Doc 107      Filed 09/23/16        Entered 09/26/16 08:31:32        Page 6 of 13
pay the mortgage on their personal family home. Defendant claimed the rest of the proceeds

were used to cover Company expenses and pay debts he and Plaintiff jointly owed to Citizens

First Bank. However, he offered no documentation confirming that and Plaintiff did not offer

evidence contradicting it. Additionally, it is to be noted again Defendant’s wife, not Defendant,

was and remained liable on these mortgages after the Company ceased operating.

         At some point during their dealings, without Defendant’s knowledge or consent Plaintiff

made an audio recording of a conversation he had with Defendant. At one point in the recording,

a transcript of which is in evidence, Defendant appears to concede owing some amount to

Plaintiff, but Defendant vehemently disputes the amounts to which Plaintiff claims he is entitled.

Additionally, at another point during the conversation Plaintiff conceded that he actually owed

money to Defendant. What is clear, however, based on the totality and weight of the evidence, is

that Plaintiff offered no credible evidence supporting the various amounts discussed during this

conversation. He also offered no evidence indicating the nature of the debts discussed therein or

when they arose. Furthermore, at trial Defendant testified that he did not owe Plaintiff at the

time, saying he only conceded a debt during the conversation because Plaintiff was “stalking”

him. Regardless, the Court cannot draw any useful conclusions from its convoluted contents.

The Court concludes Plaintiff has not proved the existence of any debt(s) arising from the

transfer of or otherwise related to the 2008 Properties, let alone facts relating to the

dischargeability of any such debt(s).

(4)      Facts Related to an Alleged $20,000 Debt

         Plaintiff also claims he loaned $20,000.00 to Defendant, but Plaintiff could not recall

when he made the loan or any other details surrounding it, including repayment terms. Plaintiff

did not obtain a note for the alleged loan nor was there any other written or other evidence of




                                                 7
    11-06602-mlo    Doc 107     Filed 09/23/16       Entered 09/26/16 08:31:32    Page 7 of 13
same from which the Court might properly infer its existence. As such, the Court does not find

that such a debt was proved.

(5)      Facts Relating to RYJ

         Conflict also arose between the parties regarding their activities related to an investment

in an entity known as RYJ, Inc. (“RYJ”). In 2007, Plaintiff was approached about investing in

RYJ. Those representing RYJ offered Plaintiff a 20% interest, but stated that they did not want

Defendant involved. Plaintiff did purchase a 20% interest in RYJ. Subsequently Defendant,

separately and directly, approached one of RYJ’s principals to discuss investing. Apparently

RYJ’s principals softened on their position regarding Defendant’s involvement as they granted

his request to invest in RYJ. The vehicle for Defendant’s investment would be his purchase of

half of Plaintiff’s aforementioned 20% interest. To facilitate this, Defendant caused to be

deposited a total of $125,000.00 into an RYJ account as payment for half of Plaintiff’s interest.

That payment was by way of checks from the account of D&A Companies, LLC, a separate

entity that Defendant’s wife owned.

         Defendant then caused to be prepared a draft of a stock purchase agreement setting forth

his acquisition of half of Plaintiff’s interest in RYJ, which Plaintiff refused to sign. State court

litigation ensued, with Defendant suing both RYJ and Plaintiff alleging his right to a 10%

ownership interest in RYJ. The referred to previous state court proceeding was ordered to

arbitration but Defendant filed for bankruptcy, staying the proceeding, before an arbitration

award could be entered.       Subsequent to the parties’ conflict regarding RYJ, they received

$127,500.00 in return on an investment they made in something called Sav-A-Lot. Plaintiff

concedes he received this amount and the evidence indicates that Plaintiff received this amount,

using and designating it as an offset for the value of Plaintiff’s interest in RYJ. The Court finds




                                                  8
    11-06602-mlo    Doc 107      Filed 09/23/16       Entered 09/26/16 08:31:32     Page 8 of 13
that this $127,500.00 payment erased any debt that might otherwise have existed regarding the

parties’ dispute over RYJ and, therefore, Defendant owes Plaintiff no debt regarding the

referred-to RYJ investment.

(6)      Facts Related to the Kier Road and Beech Daly Properties

         Plaintiff also raises questions regarding the disposition of some properties located on Kier

Road in Holly, Michigan and Beech Daly Road in Redford, Michigan. Plaintiff noted in his

Proposed Findings of Fact and Conclusion of Law that Defendant did not disclose the Beech

Daly property on his bankruptcy schedules. Plaintiff presented no credible evidence indicating

that any activities or transactions involving the Beech Daly property created or otherwise were

part of any debt Defendant owed to him. The same is true regarding any alleged debt relating to

activities regarding or involving the Kier Road property. Neither Plaintiff’s complaint nor the

parties’ Pretrial Stipulation references the properties and the Court concludes there is insufficient

evidence to find the existence of any specific debt(s) relating thereto.

(7)      Miscellaneous Other Findings of Fact

         Plaintiff submitted only one document purporting to contain details about the amounts he

claims Defendant owed him. That was Exhibit H, which is a single handwritten sheet of paper

containing numerous dollar amounts. This Exhibit was apparently a writing prepared by Plaintiff

and possibly added to at various points in time, appearing on its face to be an aggregation or

summary of information either gleaned from his memory or other unadmitted and unavailable

documents.      This Exhibit has no detail whatsoever regarding the debts to which it allegedly

refers and the various numbers it contains are unexplained. This Exhibit also does not make

clear when any of the debts referenced therein arose. It has no information regarding repayment

terms and contains no indication of what occasioned the alleged debts.




                                                  9
    11-06602-mlo     Doc 107     Filed 09/23/16       Entered 09/26/16 08:31:32      Page 9 of 13
       What someone non-contemporaneously writes down for himself, after the fact and at

different times, can hardly be considered sufficient credible proof of multiple occurrences or

transactions, particularly debt balances, calculations, and accountings. This is especially true

when those occurrences and transactions are not otherwise unsupported by documentary proof

and/or credible oral evidence.    According to Plaintiff, Exhibit H confirmed the amounts he was

owed by Defendant. That is not so. Exhibit H presents random and disconnected notations

which do not sufficiently aid this Court in determining whether, when, if, or which debt existed.

The Court cannot conclude from Exhibit H and the other presented evidence that Plaintiff has

sustained his burden of proof.

                                      (C)    DISCUSSION

(1)    Plaintiff’s Request for an “Adverse Inference” and Other Evidentiary Concerns

       Given the dearth of other evidence, Plaintiff argues that Defendant’s failure to produce

various discoverable documents requires the Court to draw an adverse inference that had they

been produced they would have been detrimental to Defendant’s case. Plaintiff bases this on his

claim that Defendant engaged in spoliation of certain documents. Spoliation is the intentional

destruction, alteration, or concealment of evidence. A court has broad discretion to craft proper

sanctions for spoliation of evidence. Adkins v. Wolever, 692 F.3d 499, 503 (6th Cir. 2009). An

adverse inference is only appropriate if the offending party knew the evidence at issue was

relevant and acted with culpability regarding the evidence’s loss or destruction. Id. at 504. Such

has not been shown here.

       Plaintiff also complains that certain requested documents were produced tardily,

including some that Defendant presented at his deposition taken a month before trial. That only

highlights Plaintiff’s own tardiness in pursuing such. Regardless, the information Defendant




                                                  10
11-06602-mlo      Doc 107        Filed 09/23/16    Entered 09/26/16 08:31:32      Page 10 of 13
produced at the deposition was neither lost nor destroyed and Plaintiff had it in plenty of time to

prepare for trial.

        The Court does understand that at least one bank with which the parties did business is no

longer operating. That is not Defendant’s fault but a mutual problem. The Court also recognizes

that at some relevant times in this litigation Defendant was representing himself, although he did

have counsel at trial. While that pro se status at times during the discovery phase does not

relieve him of his obligation to adhere to the applicable discovery rules, it is relevant to the

effect(s) of his non-adherence. To begin with, the record does not reveal formal material efforts

by Plaintiff to seek or obtain records, let alone if such records existed, or the responses thereto

and any proceedings incident to them would form a reasonable basis for the claim that Defendant

destroyed, altered, mutilated, or concealed relevant records. The absence of such in and of itself

is fatal to Plaintiff’s claim in this regard.

        Regardless, however, those claims and the other claims of stonewalling are not credibly

substantiated or sufficiently specific to support an adverse inference as to the existence of any

claimed debt or such debt’s dischargeability. Additionally, even if one could draw the requested

adverse inference, it would be but one piece of evidence to be considered along with all the other

evidence. As hereinafter noted, whether inclusive or exclusive of the requested inference, when

properly viewed and weighed in this case the evidence requires the conclusion that Plaintiff

failed to sustain his burden of proof regarding the existence of any specific debt(s).

(2)     Conclusion as to the Existence of any Specific Debt(s)

        Section 523 of the Bankruptcy Code excludes discharge of specified “debts" and Section

101(12) defines a “debt” as a liability on a claim. A claim means a right to payment or a right to

an equitable remedy. 11 U.S.C. § 101(11). Application of Section 523 is predicated on the




                                                  11
11-06602-mlo         Doc 107     Filed 09/23/16    Entered 09/26/16 08:31:32        Page 11 of 13
existence of an enforceable obligation owing from the debtor to the creditor. It is axiomatic that

if no such debt exists then the purported creditor is not truly a creditor and there is no debt

regarding which the Court can determine its dischargeability. By reason of the foregoing, the

Court has concluded that Plaintiff has not proven the existence of any specific debt owing from

Defendant and for that reason alone the Court must deny his claims.

       Addtionally, but not decisively, when two parties’ corporate business relationship breaks

up it is not uncommon for there to be claims and cross claims, the nature and extent of which

might eventually lead to the determination that one party might owe the other a debt. Here, and

to some unknown unproven extent,, the Court is dealing in a dischargeability setting with

claims of debts that actually may have arisen, to the extent they exist at all, initially at least( and

before all of the Company’s dealings have been sorted out) in favor of the Company rather than

to or between its members or shareholders..If perchance a debt of some kind had arisen, its

dischargeability may initially be more a matter between the Defendant and the Company.

According to Plaintiff, Defendant owes him money as a result of various business dealings in

which the parties engaged. To the extent the money allegedly owed involves Defendant’s

alleged misuse of Company property or funds,. such claims may be property of the Company in

the first instance    more properly pursued by it for the benefit of its creditors who may also

include other than members or shareholders. . If Defendant abused his corporate position the

injury initially flows to the Company and Plaintiff might have a derivative claim. As such, and

to that extent, this particular type of litigation would not necessarily be the proper vehicle for

what Plaintiff seeks.

                                      (D)     CONCLUSION




                                                  12
11-06602-mlo         Doc 107    Filed 09/23/16     Entered 09/26/16 08:31:32          Page 12 of 13
       The Plaintiff asks this Court to except from discharge debts he claims Defendant owes to

him. He bases that request on sections 523(a)(2)(A) and 523(a)(4) of the Bankruptcy Code,

alleging that Defendant engaged in: false pretenses; fraudulent misrepresentation; actual fraud;

breach of fiduciary duty; larceny; and embezzlement. As a party seeking nondischargeability

under section 523(a), Plaintiff bore the burden of proving his allegations by a preponderance of

the evidence and he did not meet that burden. Specifically, the Plaintiff has not proven by a

preponderance of the evidence the existence of the claimed enforcible debts owing from

Defendant to Plaintiff.. While therefore the Court need not, and does not, specifically opine on

the alleged grounds of non-dischargeability of any such debts,, the Court in passing would note

that its inability to conclude the facts and record support the existence of specific debts would

likely adversely affect its ability to conclude that any such debts were non-dischargeable.

Consistent with the foregoing the Court is contemporaneously entering an appropriate order.



                                                    _________________________________


Signed on September 23, 2016
                                               ____ __/s/ Walter Shapero_    ___
                                                  Walter Shapero
                                                  United States Bankruptcy Judge




                                               13
11-06602-mlo      Doc 107     Filed 09/23/16    Entered 09/26/16 08:31:32        Page 13 of 13
